                                                                                    .   FILED
                                                                                   IN OPEN nnr irt
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ^TRGINIA
                               Norfolk/Newport News Division                       JUL 1 8 2025

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                                                                                    NORPni <●- '
UNITED STATES OF AMERICA,

V.                                                    CRIMINAL NO: 2:25cr3


Brad Kenneth Spafford

                         SENTENCING PROCEDURES ORDER


       1.     The sentencing hearing shall be scheduled no earlier than ONE HUNDRED

TWENTY (120) DAYS following a plea of guilty or verdict of guilty, and sentencing is sched

uled in this case on                             at         in (X) Norfolk ( ) Newport News.

       2.      Counsel for the defendant is hereby given notice of the right to attend any in-

terview of the defendant conducted by the Probation Officer in the course of the presentence

investigation. Failure of counsel to immediately notify the probation officer within THREE

(3) DAYS of the guilty verdict or plea of the intention to be present at such interviews shall

be deemed by the Court to be a waiver of same.

       3.     The Presentence Investigation Report, including guideline computations, shall

be completed and provided to the parties at least THIRTY-FIVE (35) DAYS prior to the sen

tencing hearing. A copy of this policy statement shall operate as notice to counsel that the

presentence report will be furnished by the Probation Office THIRTY-FIVE (35) DAYS prior

to the sentencing hearing. A copy of the presentence report may not be disclosed to persons

other than the defendant.


       4.      If, after a review of the presentence report, there are no factors or facts mate

rial to guideline computations in dispute, counsel shall file a stipulation signed by the de

fendant and all counsel within FOURTEEN (14) DAYS after receiving the presentence report.
       5.      A party objecting to guideline determinations or facts in the presentence report

shall deliver a written statement to the Probation Officer and opposing counsel within FOUR¬

TEEN (14) DAYS after receiving the presentence report setting forth any objections and any

authorities relied upon.

       6.      It is the obligation of the objecting party to seek resolution of such objections

in conference with opposing counsel and the United States Probation Officer as soon as prac

ticable, but no less than TEN (10) DAYS prior to the sentencing hearing. This presentence

conference is mandatory when objections effecting guideline computations are in dispute, and

it is the responsibility of the objecting party to schedule it with the Probation Officer and

opposing counsel.

       7.      Counsel for the defendant and the government shall file a pleading entitled

“Position of Parties with Respect to Sentencing Factors,” (“Position Paper”) SEVEN (7) DAYS

prior to the sentencing hearing. The Position Paper shall include all objections to the presen

tence report and the grounds therefor, in accordance with Section 6A1.3 of the Sentencing

Guidelines. The Position Paper must include case law and analysis with respect to

the disputed Guidelines calculations or any other obiections identified by counsel.

Failure to adhere to this order may result in a continuance of the sentencing hear-


ing or waiver of uiiargued obiections. A copy shall be delivered to the Probation Officer

on the date of filing.

       8.      Whether or not there are objections or other disputed issues, defense counsel

and counsel for the government shall include within the above-referenced Position Paper

their positions with respect to the sentencing factors and reasons supporting the requested

sentence, including any relevant case law. Any exhibits to the Position Paper, including Char

acter Letters, victim impact statements, photographs, etc., must also be submitted by this

deadline. The Court may, in its discretion, decline to consider any exhibits submitted out of
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time.


         9.    If evidence is sought to be presented at the sentencing hearing, the parties

shall file as a part of their “Position Paper” an outline of such evidence, including;

         (a)   For cases where the defendant pleaded guilty: (1) a description of the tes-

timonv of any witnessessought to be called: (2) all documents, including character

letters, photographs,or anv other material relevant to any possible obiections or

discussion of § 3553(a) factors; and (3) anv affidavits. This shall also include any

other evidence Parties intend to rely on at the sentencing hearing.

         (b)   For cases where the defendant was convicted by jury: (Da summary of and

citation to anv relevanttrial testimony: (2) a summary of and citation to any rele¬

vant trial exhibits: and (3) anv other relevant evidence listed in Section 9(a) of this

Order.


Failure to adhere to this requirement mav result in a continuance of the sentenc¬


ing hearing. Continued failure to comnlv with this timeline or anv of the require¬

ments articulated herein may result in admonishment of counsel, and if warranted.


sanctions. A copy shall also be filed with the Probation Officer. The Court may resolve

objections upon the submissions of the parties and will hear witness testimony only for good

cause shown.


         10.   The United States Probation Officer shall transmit to the sentencing judge the


presentence investigation report, including guideline computations, and an addendum indi

cating any unresolved objections by the parties with respect to the application of the guide

lines SE\T]N (7) DAYS prior to the sentencing hearing.

         11.   All motions for upward or downward departure, responses, and rebuttal shall

be filed and served FOURTEEN (14) , SEVEN (7), and FOUR (4) DAYS, respectively, before

the sentencing date. A copy shall also be delivered to the Probation Officer on the same dates.
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        12.   Failure of counsel to adhere to the times set forth in this Order shall result in


written notification to the Court by the Probation Officer, with a copy provided to all counsel.

        13.     The times set forth in this Order may be modified by the Court for good cause

shown. Time periods under this Order shall be CALENDAR days; no extra days for mailing

shall be permitted. Except for the Presentence Investigation Report itself, all papers and

pleadings may be filed and served on opposing counsel and the Probation Officer by facsimile

mail, provided that such papers and pleadings bearing one original signature are simultane¬

ously served by regular mail. In computing any period of time under this Order in which

filing must be made at least a certain number of days before an event, if any deadline falls

on a Saturday, Sunday, or holiday, the deadline shall be the FIRST BUSINESS DAY before

the Saturday, Sunday, or holiday.

        IT IS SO ORDERED.




                                                           United States Magistrate Judge

Date:
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I HEREBY ACKNOWLEDGE RECEIPT OF A COPY OF THE SENTENCING PRO
CEDURES ORDER.




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                                                           DATO         ^

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                                                                         T
cTounsel for defendant                                     DATE



                                                                   7/
COUNSEL FOR THE UNITED STATES                              DATE


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